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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE EASTERN DISTRICT OF MISSOURI
                                 EASTERN DIVISION

 THOMAS E. HOFFMANN AND                           )
 HOFFMANN AIR CONDITIONING &                      )
 HEATING, LLC, a Missouri limited liability       )    Case No. 4:19-cv-00206-RWS
 company,                                         )
                                                  )
                Plaintiffs,                       )
                                                  )
 v.                                               )
                                                  )
 HOFFMANN BROTHERS HEATING AND                    )
 AIR CONDITIONING, INC., a Missouri               )
 corporation,                                     )
                                                  )
                Defendant.
                                                  )




                                FIRST AMENDED COMPLAINT

         Plaintiffs Thomas E. Hoffmann and Hoffmann Air Conditioning & Heating, LLC, as and

for their First Amended Complaint against Defendant Hoffmann Brothers Heating and Air

Conditioning, Inc., state and allege:

                                            Parties

         1.    Plaintiff Thomas E. Hoffmann (hereinafter, "Tom") is an individual residing in

the County of St. Louis, Missouri.

         2.    Plaintiff Hoffmann Air Conditioning & Heating, LLC (hereinafter, the

"Company") is a Missouri limited liability company with its principal place of business in St.

Louis County, Missouri.

         3.    Defendant Hoffmann Brothers Heating and Air Conditioning, Inc. (hereinafter,

"Hoffmann Brothers") is a Missouri corporation with its principal place of business in St. Louis

County, Missouri.



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                                      Jurisdiction and Venue

         4.    This is an action for declaratory judgment under the Trademark Act of 1946, 15

U.S.C. §§ 1051, et seq., as amended (the “Lanham Act”); for common law defamation, fraud,

tortious interference, invasion of privacy, intentional infliction of emotional distress, and civil

conspiracy under the laws of the State of Missouri; and for breach of contract under the laws of

the State of Missouri.

         5.    The Court has subject matter jurisdiction over the instant matter under 15 U.S.C.

§ 1121, and 28 U.S.C. §§ 1331, 1338 and 1367.

         6.    This Court has personal jurisdiction over Defendant because Defendant does

business and resides in the State of Missouri and in this District, and because Defendant’s

wrongful acts described herein include acts committed in this District.

         7.    Venue is proper in this District under 28 U.S.C. § 1391 because Defendant is

subject to personal jurisdiction in this judicial district, and this is the District in which events

giving rise to the claims hereinafter set forth occurred.

                         Prior Litigation Regarding Hoffmann Brothers

         8.    Prior to July 14, 2011, Tom and Robert J. Hoffmann (hereinafter, "Robert")

owned and operated Hoffmann Brothers for over 15 years.

         9.    On October 6, 2010, Robert filed suit against Tom in an attempt to force Tom out

of ownership of Hoffmann Brothers (the "First Lawsuit").

         10.   The First Lawsuit was resolved with the parties entering into a Settlement

Agreement dated July 14, 2011 (the "Agreement").




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                                    The Settlement Agreement

         11.   The Agreement required Tom to transfer his stock in Hoffmann Brothers to

Robert and Mary S. Hoffmann (hereinafter, "Mary") in exchange for certain payments and other

agreements.

         12.   Tom was prohibited under the Agreement for a period of four (4) years from July

14, 2011 from using the "Hoffmann name within the business name of an HVAC business

(nothing herein shall prohibit Tom from working for another company and have his personal

name listed, displayed or otherwise used by said company)," (hereinafter referred to as the

"Trade Name Protection Clause").

         13.   The Agreement contained a Non-Disparagement clause which states:

                       The Parties agree, for themselves, their agents, and their
                       representatives, that no Party will make any disparaging statement
                       or comment to any person or entity, by any medium, about any
                       other Party. For purposes of this Agreement, "disparaging
                       statements" shall include any communication, whether verbal or
                       non-verbal, expressed or implied, which may actually or
                       potentially cause harm to the reputation or business interests of
                       any Party, whether true or not.

         14.   The Agreement provides that in any action for breach of its terms, the prevailing

party shall be entitled to recover its reasonable attorney's fees, costs and expenses.

                          Tom's Use of Hoffmann in Company Name

         15.   After leaving Hoffmann Brothers, Tom honored the Agreement by not using his

last name in his new business, “Engineered Solutions”, through the entirety of the four (4) year

period required by the Trade Name Protection Clause.

         16.   Before the expiration of this provision, Tom filed Articles of Organization for a

limited liability company named Hoffmann Air Conditioning & Heating, LLC and purchased the

domain name “hoffmannairconditioning.com.”


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         17.   However, Tom did not transact any business, advertise any services, or otherwise

utilize the name “Hoffmann” as a part of the Company name or “hoffmannairconditioning.com”

during the four-year period required by the Trade Name Protection Clause. Tom merely

registered the company and purchased the domain name to prepare for entry into the marketplace

when the Trade Name Protection Clause expired. The filing of Articles of Organization and the

registration of a domain name do not constitute use in commerce.

         18.   In the summer of 2017, the Company began conducting business.

         19.   On January 25, 2019, Defendant Hoffmann Brothers' attorney sent a letter to Tom

demanding that Tom and the Company "cease and desist" from using the Hoffmann name as part

of the trade name of the Company.

         20.   The Trade Name Protection Clause expired on July 14, 2015.

         21.   The Company's use of the name "Hoffmann" is not prohibited by Federal or

Missouri state law.

         22.   The use of the name "Hoffmann" does not cause a likelihood of confusion with

the alleged ownership by Defendant of the "Hoffmann Brothers" mark. The name "Hoffmann" as

used by the Company is different and distinct from "Hoffmann Brothers." The fonts, colors and

full names of the companies are different, separate and distinct.

         23.   The Company’s invoices and stickers further clarify the distinction by including

the name “Thomas Hoffmann” thereon.

         24.   Tom and the Company are legally authorized to use Tom's surname "Hoffmann"

in the name of their business. Defendant has not registered the service mark "Hoffmann" but

rather registered the trademark "Hoffmann Brothers" and design on December 8, 2017 with the

Missouri Secretary of State. Defendant has applied to the U.S. Patent and Trademark Office for



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trademark registrations for the “Hoffmann Brothers” word mark, as well as Hoffmann Brothers

and design. The U.S. Patent and Trademark Office rejected the “Hoffmann Brothers” word mark

application on March 15, 2019 on the basis of likelihood of confusion and that the mark applied

for is merely a surname. The design mark application has not yet been examined by the U.S.

Patent and Trademark Office. Defendant has not appropriated the mark "Hoffmann" and could

not legally do so.

         25.   Another entity operates a heating and air conditioning business in the St. Louis

area using the name “Hoff Heating and A/C, Inc.” Yet another entity operates a plumbing and

heating business in the St. Louis area using the name “Hoffman Plumbing & Heating” – and, on

information and belief, has done so since 1981. There is yet another entity using the name

“Hoffman Plumbing” in Warrenton, Missouri. On information and belief, Hoffmann Brothers

has never taken any trademark enforcement action against any of these entities.

                            Wrongful Acts of Hoffmann Brothers

         26.   Hoffmann Brothers has engaged in an organized scheme and campaign to lower

the Company's organic search ranking, lower its online rating and harm Tom's and the

Company's reputations. On information and belief, Robert, as Hoffmann Brothers’ CEO, has

been primarily responsible for engineering such organized scheme and campaign.

         27.   The scheme included causing employees of Hoffmann Brothers, their associates

and friends to file false, defamatory and misleading statements about Tom and the Company.

         28.   The scheme also included causing employees and friends to click on the

Company's URL for the sole purpose of driving up the number of clicks, and thereby increasing

the cost of advertising to the Company.

         29.   Google provides a platform by which customers can rate and review businesses



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by providing a rating on a scale of one star up to five stars. The platform further allows

customers to "Share details of your own experience at this place." The site clearly informs

prospective ratings providers that, "Your review will be posted publicly on the web."

         30.   Despite never having used Tom or the Company for any service, numerous

Hoffmann Brothers employees, friends and associates posted disparaging, defamatory and

misleading ratings and reviews on Google as set forth in detail below (the "False Reviews"):

                  a. Angela Caputa, Director of Marketing at Defendant Hoffmann Brothers,

                      provided the Company a one out of five star rating on Google My

                      Business and stated on the site "Poses as hoffmann brothers. He is not a

                      part of the company anymore. Very shady."

                  b. Katie Amsbury, Controller at Defendant Hoffmann Brothers, gave the

                      Company a one out of five-star rating on Google My Business and stated

                      on the site "this company is not Hoffmann Brothers Heating & Air

                      Conditioning. They are trying to manipulate Google ads to trick customers

                      that are looking for Hoffmann Brothers."

                  c. Joe Hoffmann, Manager of the Project Management Team at Defendant

                      Hoffmann Brothers, posted on Google reviews about the Company stating

                      "This company continues to misrepresent themselves to customers..."

                  d. Chris Hoffmann, Vice President of Defendant Hoffmann Brothers, gave

                      the Company a one out of five star rating on Google. After Google

                      removed that review, Chris Hoffmann posted yet another review on

                      Google, giving the Company another one out of five star rating.

                  e. Teresa Hoffmann, wife of Defendant Hoffmann Brothers’ Vice President



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                 Chris Hoffmann, gave the Company a two out of five star rating on

                 Google.

              f. Matt Moore, believed to be a friend of Defendant Hoffmann Brothers

                 employees (Joe and Chris Hoffmann), and at the direction of said

                 employees, gave the Company a one out of five star rating on Google and

                 stated on the site "Buyer Beware: this is not Hoffmann Brothers, don't be

                 tricked! Do not use them."

              g. Grant Pope, a friend of Chris Hoffmann and at the direction of Hoffmann

                 Brothers, gave the Company a one out of five star rating on Google and

                 stated on the site "This is a misrepresentative [sic]. This is not the real

                 Hoffman Bros. Don't be tricked by this scam." Pope has never used the

                 services of Tom or the Company.

              h. Justin Cole, a friend of Chris Hoffmann and at the direction of Hoffmann

                 Brothers, gave the Company a one out of five star rating on Google and

                 stated on the site "Do not be fooled, this is not the real Hoffmann

                 Brothers. It is a shame how companies have to manipulate their customers

                 and act like another company to get business." Cole has never used the

                 services of Tom or the Company.

              i. Jake Pelikan, a friend of Chris Hoffmann and at the direction of Hoffmann

                 Brothers, gave the Company a one out of five star rating on Google and

                 stated on the site "This is NOT the real Hoffmann Brothers. This guy was

                 expelled from the company is trying to confuse customers. Absolute

                 SCAM." Pelikan has never used the services of Tom or the Company.



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                   j. Riley O'Neill, a friend of Chris Hoffmann and at the direction of

                       Hoffmann Brothers, gave the Company a one out of five star rating on

                       Google and stated on the site "SCAM. This company is misrepresenting

                       themselves as Hoffmann Brothers Heating & Air Conditioning Inc. Don't

                       fall for it!" O'Neill has never used the services of Tom or the Company.

         31.   The False Posts were disparaging, defamatory, slanderous, and caused economic

harm to and damaged the good name and reputation of Tom and the Company.

                         Chris and Joe Hoffmann's Defamatory Letter

         32.   On December 19, 2018, Chris and Joe Hoffmann, respectively, the Vice President

and the Manager of the Project Management Team at Defendant Hoffmann Brothers, wrote a

letter (the "Family Letter") to 20 members of Tom's family (the "Hoffmann Family"). On

information and belief, Robert, as the CEO of Hoffmann Brothers and Chris and Joe’s father,

played a significant role in the creation of the Family Letter.

         33.   One of the stated goals of the letter was for Chris and Joe Hoffmann to “expose

[what Chris and Joe Hoffmann believe] to be the true character of [Tom]…”

         34.   Most of the individuals in the Hoffmann Family are customers of Tom and the

Company.

         35.   The Family Letter contained numerous misstatements, misrepresentations,

defamatory statements and disparaging statements against Tom and the Company.

         36.   The Family Letter wrongfully and defamatorily accused Tom and the Company of

duping, overcharging, intentionally misleading and deceiving customers and manipulating

customers' trust in Hoffmann Brothers in order to charge for excessive repairs.

         37.   The Family Letter wrongfully and defamatorily called Tom an "unethical,



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dishonest, greed-obsessed individual..."

         38.   The Family Letter wrongfully and defamatorily accused Tom of wreaking "havoc

on our family relationships, and who routinely sacrifices integrity for personal financial gain."

         39.   Chris and Joe Hoffmann are officers and owners of Hoffmann Brothers, and the

sons of Robert, the CEO of Hoffmann Brothers.

         40.   The Family Letter was sent individually by Chris and Joe Hoffmann and as the

"majority owners" and officers of Defendant Hoffmann Brothers.

         41.   As a result of the Family Letter and Hoffmann Brothers’ campaign to bully and

destroy Tom, his Company, and their respective reputations, several members of the Hoffmann

family as well as numerous long-time Hoffmann family friends have ceased business with,

referrals to and/or communication with Tom and the Company.

                             Harassment of Tom and the Company

         42.   On information and belief, Hoffmann Brothers or agents acting at the direction of

Hoffmann Brothers have filed a number of false police reports directed at Tom and the

Company, including reports falsely accusing Tom and the Company of engaging in purported

environmental and emissions violations, illegal parking and noise violations.

         43.    On information and belief, Hoffmann Brothers or agents acting at the direction of

Hoffmann Brothers have, without Tom’s knowledge or consent, listed Tom’s home address on

Realtor.com, falsely reporting his home is for sale and prompting Tom and his family to receive

numerous unsolicited and unwanted calls pertaining to his home purportedly being for sale. In

addition, on information and belief, Hoffmann Brothers or agents acting at the direction of

Hoffmann Brothers, without Tom’s knowledge or consent, used Tom’s email address, name and

phone number to make multiple inquiries on properties listed on Realtor.com, which in turn



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flooded Tom’s email inbox with unwanted messages and his telephone with unwanted calls.

         44.     On information and belief, Hoffmann Brothers or agents acting at the direction of

Hoffmann Brothers, without Tom’s knowledge or consent, likewise made multiple searches and

requests for quotes for different vehicles at Autotrader.com, using Tom’s email address, name

and phone number. This caused Tom and his family to receive numerous unsolicited and

unwanted calls concerning his purported interest in several vehicles for sale.

         45.     On information and belief, Hoffmann Brothers or agents acting at the direction of

Hoffmann Brothers contacted numerous life insurance companies again using Tom’s email

address, name and phone number to inquire about purchasing life insurance without his

knowledge or consent. This caused Tom and his family to receive numerous unsolicited and

unwanted calls from solicitors pertaining to his purported interest in purchasing life insurance.

On information and belief, Hoffmann Brothers or agents acting at the direction of Hoffmann

Brothers have made defamatory and slanderous statements about Tom and the Company, falsely

accusing Tom and the Company of dishonesty, lack of integrity and illegal and/or improper

business practices, to Tom’s family and both prospective and current clients of the Company.

                                             COUNT I

               Declaratory Judgment under the Federal Lanham Act and State Law

         46.     Plaintiffs re-allege and incorporate by reference, as if fully set forth herein, all

preceding paragraphs of this Complaint.

         47.     Hoffmann Brothers sent a cease and desist letter, dated January 25, 2019, alleging

that Plaintiffs were infringing on Hoffmann Brothers’ trademarks by using the name “Hoffmann”

in commerce.

         48.     After this action was first brought in Missouri state court, Hoffmann Brothers



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filed suit in this District in the case: Hoffmann Bros. Heating and Air Conditioning, Inc. v.

Hoffmann Air Conditioning & Heating, LLC, et al., No. 4:19-cv-00200-RWS (E.D. Mo. Feb. 8,

2019).

         49.   Hoffmann Brothers’ Complaint in the above-listed case contains, in part, a cause

of action asserted under the Lanham Act (Count 2) for use of “Hoffmann” in commerce.

         50.   Hoffmann Brothers’ allegations, as borne out in its cease and desist letter and

Complaint, allege Federal trademark infringement under the Lanham Act. Plaintiffs deny that

they have violated the Lanham Act, or infringed Hoffmann Brothers’ trademarks. Accordingly,

a controversy exists concerning whether Plaintiffs’ prior and continuing use of the term

“Hoffmann” constitutes Federal Trademark infringement in violation of 15 U.S.C. § 1114,

trademark infringement and dilution in violation of Mo. Rev. Stat. §§ 417.056 and -.061, and/or

common law unfair competition.

         51.   The Company has been utilizing "Hoffmann", the surname of Tom, in the name

of its business for over a year and a half.

         52.   The Trade Name Protection Clause restricting Tom's use of the name "Hoffmann"

expired on July 14, 2015.

         53.   Tom and the Company have the right to use Tom's surname of "Hoffmann" in the

name of the Company and in their business because the contractual provision restricting such use

has expired.

         54.   There is no likelihood of confusion between Plaintiffs’ use of Tom’s surname

“Hoffmann” in the Company name and any trademark or service marks owned by Hoffmann

Brothers.

         55.   Hoffman Brothers’ asserted trademark in “Hoffman Brothers” is extremely weak,



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merely descriptive as a surname, lacks secondary meaning, and not entitled to protection.

         56.   As set forth above, another entity operates a heating and air conditioning business

in the St. Louis area using the name “Hoff Heating and A/C, Inc.” Yet another entity operates a

plumbing and heating business in the St. Louis area using the name “Hoffman Plumbing &

Heating” – and, on information and belief, has done so since 1981. There is yet another entity

using the name “Hoffman Plumbing” in Warrenton, Missouri.            On information and belief,

Hoffmann Brothers has never taken any trademark enforcement action against any of these

entities.

         57.   Tom and the Company have not (1) engaged in Federal trademark infringement in

violation of 15 U.S.C. § 1114; (2) violated any other provisions of the Lanham Act; (3) violated

any provisions of Missouri trademark law, including but not limited to, Mo. Rev. Stat. §§

417.056 and -.061; (4) engaged in common law unfair competition; or (5) breached the Trade

Name Protection Clause of the Agreement.

         58.   A controversy therefore exists between the parties regarding the right of Tom and

the Company to use "Hoffmann" in the name of the Company, and in advertising materials,

websites, Google ads, search parameters, proposals and other aspects of the Company’s business.

         59.   By reason of the foregoing, there is a justiciable controversy between Plaintiffs

and Defendant Hoffmann Brothers, and declaratory judgment is both necessary and proper in

order to set forth and determine the rights and obligations that exist among the parties related to

the name Hoffmann and the use thereof.

                                           COUNT II

                                       Breach of Contract

         60.   Plaintiffs re-allege and incorporate by reference, as if fully set forth herein, all



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preceding paragraphs of this Complaint.

         61.   Tom and Defendant Hoffmann Brothers entered into the Agreement, which

constituted a valid, binding contract pursuant to Missouri law.

         62.   Tom has fulfilled his obligations under the Agreement.

         63.   Defendant Hoffmann Brothers has failed to perform its obligations under the

Agreement and has breached the Agreement by, among other things:

                   a. disparaging Tom and the Company with the False Reviews;

                   b. disparaging Tom and the Company with the Family Letter;

                   c. making false police reports and accusations; and

                   d. on information and belief, disparaging Tom and the Company in other

                       ways.

         64.   As a direct and proximate cause of the breaches by Hoffmann Brothers, Tom and

the Company have suffered economic damages, loss of business, reputational damages, loss of

profit, loss of potential economic gain and other damages.

         65.   As a direct and proximate cause of the breaches by Hoffmann Brothers, Tom and

the Company have incurred attorney's fees, costs and expenses, which they are entitled to recover

under the Agreement.

         66.   If Defendant’s wrongful conduct continues and is not enjoined, Tom and the

Company will continue to suffer irreparable harm for which there is no adequate remedy at law,

including but not limited to unjustified loss of customers, present and future economic loss,

reputational harm, and loss of the rights granted under the Agreement.

                                           COUNT III

                                           Defamation



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         67.   Plaintiffs re-allege and incorporate by reference, as if fully set forth herein, all

preceding paragraphs of this Complaint.

         68.   Defendant Hoffmann Brothers published the False Reviews on Google, the

Family Letter to Tom’s family and customers of the Company, false police reports and

accusations to the police department, and uttered slanderous comments in the presence of third

parties (collectively, the “Defamatory Statements”).

         69.   Defendant Hoffmann Brothers knew the Defamatory Statements were false or

Hoffmann Brothers published the Defamatory Statements with reckless disregard for whether the

False Reviews were true or false at a time when Hoffmann Brothers had serious doubt as to

whether they were true.

         70.   The Defamatory Statements tended to deprive Tom and the Company of the

benefit of public confidence, customer loyalty, positive customer reviews and rightful internet

search ranking or rating.

         71.   The Defamatory Statements were read or heard by the public in general and more

specifically actual and potential customers of Tom and the Company and caused: the Company's

Google rating to decrease from 5 to 3.1, Tom’s family to lose trust and respect in Tom and the

Company, the police to investigate Tom and the Company, and third parties, including but not

limited to actual and potential customers, to lose trust and respect in Tom and the Company.

         72.   Tom and the Company have suffered damages as a direct and proximate result of

the Defamatory Statements. Among other things, Tom's and the Company's reputations were

damaged by the posting of the Defamatory Statements, and the Company lost profits as a result.

         73.   The Defamatory Statements were outrageous because of Defendant Hoffmann

Brothers' evil motive or reckless indifference to the rights of Tom and the Company, entitling



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Plaintiffs to punitive damages.

         74.   If Defendant’s wrongful conduct continues and is not enjoined, Tom and the

Company will continue to suffer irreparable harm for which there is no adequate remedy at law,

including but not limited to unjustified loss of customers, present and future economic loss,

reputational harm, and loss of the rights granted under the Agreement.

                                           COUNT IV

                                  False Light Invasion of Privacy

        75.    Plaintiffs re-allege and incorporate by reference, as if fully set forth herein, all

preceding paragraphs of this Complaint.

        76.    Defendant Hoffmann Brothers placed Plaintiffs in a false light by:

                   a. disparaging Tom and the Company with the False Reviews;

                   b. disparaging Tom and the Company with the Family Letter;

                   c. disparaging Tom and the Company with false police reports and

                      accusations; and

                   d. disparaging Tom and the Company with slanderous comments.

         77.   The false light in which Plaintiffs were placed is highly offensive to a reasonable

person, as it creates an impression that Tom and the Company are, among other things,

fraudulent, unethical and dishonest.

         78.   Defendant Hoffmann Brothers had knowledge of or acted in reckless disregard as

to the falsity of the publicized matter and the false light in which Tom and the Company would

be placed.

         79.   Tom’s and the Company's reputations were damaged as a direct and proximate

result of the posting of the Defamatory Statements, and the Company lost profits as a result.



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         80.   Defendant Hoffmann Brothers' conduct was outrageous, and demonstrates evil

motive or reckless indifference to the rights of Tom and the Company, entitling Plaintiffs to

punitive damages.

         81.   If Defendant’s wrongful conduct continues and is not enjoined, Tom and the

Company will continue to suffer irreparable harm for which there is no adequate remedy at law,

including but not limited to unjustified loss of customers, present and future economic loss,

reputational harm, and loss of the rights granted under the Agreement.

                                            COUNT V

                           Intentional Infliction of Emotional Distress

         82.   Plaintiffs re-allege and incorporate by reference, as if fully set forth herein, all

preceding paragraphs of this Complaint.

         83.   Defendant Hoffmann Brothers engaged in extreme and outrageous conduct by:

                    a. defaming Tom to his family in the Family Letter, sent four days before

                       Christmas;

                    b. filing false police reports and accusations against Tom; and

                    c. posing as Tom by using his name, email address, and phone number to

                       make numerous false inquiries on Realtor.com, Autotrader.com, and

                       various life insurance websites in an attempt to falsely lead third parties to

                       believe he was selling his home and interested in purchasing numerous

                       other real estate properties, vehicles, and life insurance policies.

         84.   Sending a defamatory letter about a person to that person’s family four days

before Christmas, for the express purpose of injuring that person’s character in the eyes of his

family, is outrageous in character, and is so extreme in degree, as to go beyond all possible



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bounds of decency.

          85.   Likewise, filing false police reports and posing as Tom on Internet sites to make

others believe Tom was selling his home, and/or interested in purchasing other real estate

properties, vehicles, and life insurance, thereby bombarding him and his family with unwanted

solicitations are actions that are so outrageous in character, and so extreme in degree, as to go

beyond all possible bounds of decency.

          86.   Defendant Hoffmann Brothers’ conduct was intended only to cause extreme

emotional distress to the victim.

          87.   Tom suffered mental anguish and reputational harm as a direct and proximate

result of Defendant Hoffmann Brothers’ conduct.

          88.   Defendant Hoffmann Brothers' conduct was outrageous, and demonstrates evil

motive or reckless indifference to the rights of Tom and the Company, entitling Plaintiffs to

punitive damages.

          89.   If Defendant’s wrongful conduct continues and is not enjoined, Tom and the

Company will continue to suffer irreparable harm for which there is no adequate remedy at law,

including but not limited to unjustified loss of customers, present and future economic loss,

reputational harm, and loss of the rights granted under the Agreement.

                                            COUNT VI

                                              Fraud

          90.   Plaintiffs re-allege and incorporate by reference, as if fully set forth herein, all

preceding paragraphs of this Complaint.

          91.   Defendant Hoffmann Brothers made the following false statements, among

others:



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                  a. Caputa was a customer of the Company;

                  b. Amsbury was a customer of the Company;

                  c. Chris Hoffmann was a customer of the Company; and

                  d. Feigning false interest in utilizing the services of the Company by clicking

                      on the Company's URL on Google ("Fraudulent Clicks").

         92.   Defendant Hoffmann Brothers directed its employees and associates to make a

false statement that they were interested in utilizing the services of Company by clicking on the

Company's URL on Google.

         93.   Defendant Hoffmann Brothers knew the statements were false.

         94.   Defendant Hoffmann Brothers knew the Fraudulent Clicks and/or inflating the

Google AdWords campaign would cause the Company to incur additional click fees with

Google.

         95.   Defendant Hoffmann Brothers intended for the false statements to be relied upon

by customers and consumers to not engage the Company for services.

         96.   Defendant Hoffmann Brothers intended for the Fraudulent Clicks and/or inflating

the Google AdWords campaign to be relied upon by the Company in continuing to advertise

with Google.

         97.   The Company did rely on the Fraudulent Clicks being actual leads and continued

to advertise with Google.

         98.   The Company had the right to rely on the representations that the clicks were

legitimate because it neither knew nor was in a position to know that Hoffmann Brothers was

behind the Fraudulent Clicks.

         99.   As a direct and proximate result of its reliance on the representations, the



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Company was damaged by, among inter alia, making inflated payments to Google AdWords and

spending time and resources in investigating and responding to false claims made by Hoffmann

Brothers and its agents.

         100.   Defendant Hoffmann Brothers' conduct was outrageous, and demonstrates evil

motive or reckless indifference to the rights of Tom and the Company, entitling Plaintiffs to

punitive damages.

         101.   If Defendant’s wrongful conduct continues and is not enjoined, Tom and the

Company will continue to suffer irreparable harm for which there is no adequate remedy at law,

including but not limited to unjustified loss of customers, present and future economic loss,

reputational harm, and loss of the rights granted under the Agreement.

                                           COUNT VII

                                      Tortious Interference

         102.   Plaintiffs re-allege and incorporate by reference, as if fully set forth herein, all

preceding paragraphs of this Complaint.

         103.   Defendant Hoffmann Brothers knew the Company had a business relationship

and/or valid expectancy of a business relationship with customers to provide services.

         104.   Defendant Hoffmann Brothers knew customers and potential customers would

read the False Reviews and the Family Letter.

         105.   Defendant Hoffmann Brothers intentionally and maliciously interfered with the

Company's relationship with existing customers and potential customers by issuing the

defamatory False Reviews and the Family Letter.

         106.   Defendant Hoffmann Brothers intentionally and maliciously interfered with the

Company's relationship with customers and potential customers by causing friends and



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associates to issue the defamatory False Reviews and the Family Letter.

         107.   The False Reviews and the Family Letter were issued without justification.

         108.   The Company was damaged as a result of Defendant Hoffmann Brothers'

interference with the Company's relationship with existing customers and its expectancy of

relationships with potential customers.

         109.   As a direct and proximate result of Hoffmann Brothers’ smear campaign, the

Company was damaged by a loss in business from former, current, and prospective clients.

         110.   As a direct and proximate result of Hoffmann Brothers’ smear campaign,

including but not limited to the False Reviews and the drop in the Company’s star rating on

Google, the Company has been damaged by the loss of business from former, current, and

prospective clients but for the decline in its rating and the negative reviews.

         111.   Defendant Hoffmann Brothers' conduct was outrageous, and demonstrates evil

motive or reckless indifference to the rights of Tom and the Company, entitling Plaintiffs to

punitive damages.

         112.   If Defendant’s wrongful conduct continues and is not enjoined, Tom and the

Company will continue to suffer irreparable harm for which there is no adequate remedy at law,

including but not limited to unjustified loss of customers, present and future economic loss,

reputational harm, and loss of the rights granted under the Agreement.

                                           COUNT VIII

                                          Civil Conspiracy

         113.   Plaintiffs re-allege and incorporate by reference, as if fully set forth herein, all

preceding paragraphs of this Complaint.

         114.   Defendant Hoffmann Brothers conspired and agreed with, among others, Teresa



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Hoffmann, Matt Moore, Grant Pope, Justin Cole, Jake Pelikan, and Riley O’Neill (collectively,

the “Co-Conspirators”) to participate in the exercise of Fraudulent Clicks and/or to post the False

Reviews and participate in Fraudulent Clicks.

         115.   Fraudulent Clicking is an unlawful act because it is an act of fraud.

         116.   Posting the False Reviews is an unlawful act because it is defamatory and a false

light invasion of privacy.

         117.   Hoffmann Brothers and its Co-Conspirators did in fact commit those acts, in

pursuit of the conspiracy.

         118.   Tom and the Company were damaged as a direct and proximate result of

Hoffmann Brothers and the Co-Conspirators’ acts.

         119.   Defendant Hoffmann Brothers' and the Co-Conspirator’s conduct was outrageous,

and demonstrates evil motive or reckless indifference to the rights of Tom and the Company,

entitling Plaintiffs to punitive damages.

         120.   If Defendant’s wrongful conduct continues and is not enjoined, Tom and the

Company will continue to suffer irreparable harm for which there is no adequate remedy at law,

including but not limited to unjustified loss of customers, present and future economic loss,

reputational harm, and loss of the rights granted under the Agreement.

                                     PRAYER FOR RELIEF

         WHEREFORE, Plaintiffs respectfully request that this Court enter judgment in their

favor and against Defendant Hoffmann Brothers as follows:

         1.     awarding Plaintiffs damages in an amount in excess of $25,000, plus costs and

expenses;

         2.     awarding Plaintiffs pre-judgment interest and post-judgment interest;



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         3.    awarding Plaintiffs their attorneys' fees and expenses incurred in connection with

this matter, pursuant to the Agreement as well as 15 U.S.C. § 1117;

         4.    awarding Plaintiffs punitive damages;

         5.    issuing a preliminary and final injunction prohibiting and restraining Hoffman

Brothers and its directors, officers, agents, servants, employees, and all other persons in active

concert, cooperation, privity or participation with it from:

                   a. posting any false reviews or ratings of Plaintiffs;

                   b. falsely representing themselves as customers of Plaintiffs;

                   c. submitting any fraudulent clicks or soliciting others to submit fraudulent

                       clicks on Plaintiffs’ website;

                   d. defaming, disparaging, or otherwise publishing false statements about

                       Plaintiffs;

                   e. falsely representing themselves as Plaintiffs by using Tom and/or the

                       Company’s name, email address, phone number or other identifying

                       information to pose as Tom or the Company on the Internet or otherwise;

                       and

                   f. making false police reports and accusations against Plaintiffs;

         6.    declaring, decreeing and adjudging that:

                   a. Plaintiffs were and are authorized to use "Hoffmann" in the name of the

                       Company, in advertising materials, websites, google ads, search

                       parameters, proposals and other aspects of its business; and

                   b. Plaintiffs have not infringed and will not infringe on any trademark or

                       other protectable interest of Defendant in using the name "Hoffmann;"



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                     c. Plaintiffs have not engaged in Federal trademark infringement in violation

                        of 15 U.S.C. § 1114;

                     d. Plaintiffs have not violated any other provision of the Lanham Act;

                     e. Plaintiffs have not violated any provisions of Missouri trademark law,

                        including but not limited to, Mo. Rev. Stat. §§ 417.056 and 417.061;

                     f. Plaintiffs have not engaged in common law unfair competition; and

                     g. Plaintiffs have not breached the Trade Name Protection Clause of the

                        Agreement or any other provision of the Agreement; and

         7.   awarding such other and further relief as the Court deems just and proper under

the circumstances.

Dated: March 22, 2019

                                               Respectfully submitted,

                                               POLSINELLI PC




                                               By: /s/ Keith J. Grady ___________________________
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                                                   HEATING, LLC




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                                   CERTIFICATE OF SERVICE

                I hereby certify that on March 22, 2019, the foregoing was electronically filed

with the Clerk of the Court using the CM/ECF system, which sent electronic notification of such

filing to all parties of record.

                                                           /s/ Keith J. Grady




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